                          THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA )
                         )
V.                       )                   19 CR 10438-GAO
                         )
ERIC MEIGGS              )

              ASSENTED-TO MOTION TO CONTINUE RULE 11 HEARING

         Now comes Mr. Meiggs with the assent of the government and moves this Honorable

Court to continue the Rule 11 Hearing currently scheduled for February 24, 2021 approximately

30 days. In support thereof, the parties have continue to work towards a potential plea agreement

and have narrowed the framework of any such agreement.

         Mr. Meiggs is now able to participate remotely, and agrees to proceed at any new date by

video.


                                             Respectfully submitted,

                                             ERIC MEIGGS
                                             By his Attorney,
                                             /s/ Joshua R. Hanye
                                             Joshua R. Hanye
                                             B.B.O. #661686
                                             Assistant Federal Public Defender
                                             Federal Public Defender Office
                                             51 Sleeper St., Fifth Floor
                                             Boston, MA 02210
                                             (617) 223-8061
                                      Certificate of Service

       I, Joshua Hanye, hereby certify that this document was this day filed through the ECF
       system and will be sent electronically to the registered participants as identified on the
       Notice of Electronic Filing (“NEF”).


Date: February 22, 2021                                              /s/ Joshua Hanye______
                                                                     Joshua Hanye
